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                        EXHIBIT 203
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Document title:                  Sarah Jeong: New York Times Hires Writer With Racist Past | National Review

Capture URL:                     https://www.nationalreview.com/news/sarah-jeong-new-york-times-hires-writer-
                                 racist-past/

Captured site IP:                23.185.0.3

Page loaded at (UTC):            Wed, 08 Jul 2020 15:50:52 GMT

Capture timestamp (UTC):         Wed, 08 Jul 2020 15:53:34 GMT

Capture tool:                    v7.0.6

Collection server IP:            54.174.78.137

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.14393.0 (10.0.14393.0)

PDF length:                      10

Capture ID:                      1dd55378-f33f-4d3f-8af3-ad52dc9fbd90

User:                            bc-gayla




                        PDF REFERENCE #:           8z1RBfdqBrR8NmsweRaf5z
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Document title: Sarah Jeong: New York Times Hires Writer With Racist Past | National Review
Capture URL: https://www.nationalreview.com/news/sarah-jeong-new-york-times-hires-writer-racist-past/
Capture timestamp (UTC): Wed, 08 Jul 2020 15:53:34 GMT                                                  Page 1 of 9
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Document title: Sarah Jeong: New York Times Hires Writer With Racist Past | National Review
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Capture timestamp (UTC): Wed, 08 Jul 2020 15:53:34 GMT                                                  Page 2 of 9
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